           Case 1:17-cr-00630-ER Document 394 Filed 08/26/21 Page 1 of 1



                                                          U.S. Department of Justice

                                                          United States Attorney
                                                          Southern District of New York


                                                          The Silvio J. Mollo Building
                                                          One Saint Andrew’s Plaza
                                                          New York, New York 10007

                                                          August 26, 2021

BY ECF/EMAIL
Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

        Re:     United States v. Mark S. Scott, S10 17 Cr. 630 (ER)

Dear Judge Ramos:

         The Government respectfully submits this letter to request an adjournment of tomorrow’s deadline
for its opposition to Scott’s Supplemental Rule 33 Motion for a period of two weeks. Scott opposes the
adjournment. 1 As the Court is aware, Scott’s sentencing date was adjourned today until November 9,
2021. In light of the adjournment, and Scott’s out-of-custody status, a brief adjournment of the Rule 33
schedule will not impact Scott’s sentencing date. Furthermore, the adjournment will afford the
Government sufficient time to adequately respond to Scott’s motion, which seeks the drastic remedy of a
new trial. Notably, Scott waited for six weeks after receiving the information that is the subject of his
motion (i.e.,
       ) before filing his motion. An adjournment of two weeks is therefore fair and appropriate, and
would in no way prejudice the defense.

                                                          Respectfully submitted,

                                                          AUDREY STRAUSS
                                                          United States Attorney

                                                  By:            /s/
                                                          Christopher J. DiMase / Nicholas Folly/Michael
                                                          C. McGinnis
                                                          Assistant United States Attorneys
                                                          (212) 637-2433 / 1060 / 2305

Cc:     Defense counsel (ECF)
1
  Specifically, Scott’s counsel informed the Government today that: “In light of the Government’s recent
disclosure that its cooperating witness committed perjury and the lack of prior disclosure to the defense,
Mr. Scott believes that the Government should submit at least an initial response to Mr. Scott’s
application by August 27th as previously ordered and that the Court should set a conference to address
this issue as soon as possible following that submission. Mr. Scott has no objection to the Government
making a supplemental submission thereafter.”
